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                                                                                          CpURT
                                   IN THE UNITED STATES DISTRICT CSnV
                                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                                            WAYCROSS DIVISION    IM 3t

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              CHRISTOPHER GREEN,

                                  Petitioner,                        CIVIL ACTION NO.: CV512-124



              UNITED STATES OF AMERICA,                              (Case No.: CR597-03)

                                  Respondent.




                          MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

                    Christopher Green ("Green"), an inmate currently incarcerated at the Federal

              Correctional Institution in Jesup, Georgia ("FCI Jesup"), filed an action pursuant to 28

              U.S.C. § 2255. Respondent filed a Response, and Green filed a Reply. For the

              reasons which follow, Green's Motion should be DISMISSED.

                                           STATEMENT OF THE CASE

                    Green was convicted in 1997 of two counts of possession with intent to distribute

              crack cocaine, in violation of 21 U.S.C. § 841(a), and one count of conspiracy to

              possess with intent to distribute and distribution of cocaine hydrochloride and crack

              cocaine, in violation of 21 U.S.C. § 846. United States v. Green, CR597-003, Doc. No.

              1152. Green had two prior felony convictions from Georgia state courts in 1992, which

              were used to enhance his sentence. (Doc. No. 3, p. 1). Green filed a direct appeal,




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              and the Court of Appeals for the Eleventh Circuit affirmed his conviction and sentence.

              (Doc. No. 3, p. 2).

                     Green filed a motion pursuant to § 2255 in 2001; that motion was dismissed as

              untimely. Green, CR597-003, Doc. Nos. 1569, 1657. In 2005, Green filed a second §

              2255 motion; in that motion he argued that the Georgia Supreme Court, in October

              2005, vacated his two prior convictions that this Court had used as predicates for his

              federal sentence enhancement. Green, CR597-003, Doc. No. 1725. The government

              filed a motion to dismiss that § 2255 motion as successive; Green did not oppose the

              government's motion to dismiss, and this Court granted it. Green, CR597-003, Doc.

              No. 1746. Green filed a third § 2255 motion in 2006 raising the same claim based on

              his vacated prior convictions. Green, CR597-003, Doc. No. 1757. Again, the

              government filed a motion to dismiss that § 2255 motion as successive; Green did not

              oppose the government's motion to dismiss, and this Court granted it. Green, CR597-

              003, Doc. No. 1777. Since the vacatur of his state convictions, Green has filed

              numerous other motions and petitions—all of these motions and petitions have either

              been recharacterized as successive § 2255 motions and dismissed or denied for other

              reasons. (Doc. No. 3, pp. 3-4).

                     Green filed the instant Motion on October 21, 2012. (Doc. No. 1). Green argues

              that, because the two predicate convictions that were used to enhance his current

              federal sentence were vacated by the Georgia Supreme Court in October 2005, his

              current federal sentence exceeds the statutory maximum. Green also argues that the

              instant Motion is not "second or successive" within the meaning of § 2255(h).




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                                  DISCUSSION AND CITATION OF AUTHORITY

                     To file a second or successive § 2255 motion, the movant is required to first file

              an application with the appropriate court of appeals for an order authorizing the district

              court to consider the motion. 28 U.S.C. § 2244(b)(3)(A); Farris v. United States, 333

              F.3d 1211, 1216 (11th Cir. 2003). A panel of the court of appeals must certify that the

              second or successive motion contains:

                     (1) newly discovered evidence that, if proven and viewed in light of the
                     evidence as a whole, would be sufficient to establish by clear and
                     convincing evidence that no reasonable facthnder would have found the
                     movant guilty of the offense; or

                     (2) a new rule of constitutional law, made retroactive to cases on
                     collateral review by the Supreme Court, that was previously unavailable.

              28 U.S.C. § 2255(h); In re Anderson, 396 F.3d 1336, 1337 (11th Cir. 2005). "Without

              authorization" from the court of appeals, a "district court lack[s] jurisdiction to consider

              [a movant's] second or successive" motion. Carter v. United States, 405 F. App'x 409,

              410 (11th Cir. 2010). The dismissal of a previous § 2255 motion as untimely

              "constitute[s] a dismissal with prejudice," requiring a movant to seek permission from

              the Eleventh Circuit to file a successive § 2255 motion. Id. 28 U.S.C. §

              2244(b)(3)(A), 2255(h)).

                     Green argues that the instant Motion, despite being the fourth § 2255 motion

              that he has filed, is not "second or successive" based on the holding in Stewart v.

              United States, 646 F.3d 856 (11th Cir. 2011). In Stewart, the Court of Appeals for the

              Eleventh Circuit applied Johnson v. United States, 544 U.S. 295 (2005), to determine

              that the movant's § 2255 motion was not "second or successive." In Johnson, the

              United States Supreme Court "held that the state court vacatur of a predicate



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              conviction is a new 'fact' that triggers a fresh one-year statute of limitations under §

              2255(f)(4), so long as the petitioner exercised due diligence in seeking that order."

              Stewart, 646 F.3d at 858 (describing the holding in Johnson) (citation and footnote

              omitted). The Stewart court went on to explain that because the order vacating a

              defendant's predicate convictions forms the basis of a § 2255 claim, such a claim is not

              "second or successive" if brought in a § 2255 motion following the dismissal or denial of

              a previous § 2255 motion. Id. at 863-64.

                     The 2005 vacatur of Green's predicate offenses did not result in the running of a

              new one-year limitation period because Green did not satisfy a necessary prerequisite.

              The Johnson Court held that the state court vacatur of a predicate conviction is a new

              "fact" that triggers a fresh one-year statute of limitations under § 22 55(fl(4), so long as

              the movant exercised due diligence in seeking that order.'              Johnson, 544 U.S. at 302.

              The due diligence requirement is "activated" on the date of judgment in the federal case

              that is enhanced by the prior convictions. j.çL. at 309. In Johnson, the movant filed his

              state habeas petition seeking vacatur of the predicate offenses more than three years

              after entry of judgment in his federal case. jç at 311. The Court noted that even if the

              burden of diligence began on the date the federal conviction became final, Johnson's

              21-month delay before filing the state habeas petition "fell far short of reasonable

              diligence in challenging the state conviction." Id. Green was sentenced by this Court in

              December 1997. Green, CV597-003, Doc. No. 1152. The due diligence requirement

              was activated then. Green failed to file any challenge to his prior state convictions until


              'lithe diligence requirement is not met, a new one-year limitation period is not triggered. See Johnson,
              544 U.S. at 310 ("from November 29, 1004, the date the District Court entered judgment in his federal
              case, Johnson was obliged to act diligently to obtain the state-court order vacating his predicate
              conviction. Had he done so, the 1-year limitation period would have run from the date he received notice
              of that vacatur.") (emphasis added).

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              May 2002, over four years later. Green, CR597-003, Doc. No. 1757, p. 10. Green

              argues that he began seeking vacatur of his state court convictions in June 1998.

              (Doc. No. 1, p. 14). The Court does not dispute that Green sought to obtain state court

              records at least as early as June 1998, (Doc. No. 1-1, p. 2); however, Green did not

              actually begin the judicial process of seeking vacatur, by filing a state habeas petition,

              until May 2002. Because Green waited one year longer to file a state habeas petition

              than did the movant in Johnson, the Court cannot find that Green diligently pursued the

              vacatur of his predicate convictions. Consequently, the 2005 vacatur of Green's

              predicate convictions did not satisfy the standard announced in Johnson and reiterated

              in Stewart. Therefore, Stewart does not apply to bring Green's claim out from under

              the "second or successive" ban.

                                                   CONCLUSION

                     Based on the foregoing, it is my RECOMMENDATION that Green's Motion

              brought pursuant to 28 U.S.C. § 2255 be DISMISSED.

                     SO REPORTED and RECOMMENDED, this                 6ay of January, 2013.




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                                                           MES E. GRAHAM
                                                          NITED STATES MAGISTRATE JUDGE




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